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 1                                                                The Honorable Richard A. Jones
 2
 3
 4
                               UNITED STATES DISTRICT COURT FOR THE
 5                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 6
 7    UNITED STATES OF AMERICA,                        NO. CR18-132 RAJ
 8                              Plaintiff,

 9                        v.                           ORDER SETTING BRIEFING SCHEDULE

10
      MICHAEL SCOTT MORGAN, JR.,
11
                                Defendant,
12    and,
13
14    KIMBERLY GUADALUPE,
                        Third-Party Petitioner.
15
16
17           Having considered the parties’ Stipulated Motion Concerning Briefing Schedule, the

18 Court ORDERS:
19       1. The United States shall file a response to the Petition for Return of Property to

20              Third-Party (Dkt. 840) on or before October 16, 2020;

21           2. Counsel for Ms. Guadalupe will file a reply, if any, by October 23, 2020; and

22           3. The motion will be noted for October 30, 2020.

23
24           DATED this 29th day of September, 2020.

25
26
                                                      A
27                                                    The Honorable Richard A. Jones
                                                      United States District Judge
28

     ORDER SETTING BRIEFING SCHEDULE                                      UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Morgan, 18-CR-132-RAJ - 1
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
